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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 MHL CUSTOM, INC.,

                   Plaintiff,
                                                        C.A. No. 21-0091-RGA
          v.

 WAYDOO USA, INC. and SHENZHEN
 WAYDOO INTELLIGENCE
 TECHNOLOGY CO., LTD,

                   Defendant.

                                  CERTIFICATE OF SERVICE

          On April 17, 2023, Andrew A. Ralli, caused true and correct copies of Plaintiff’s Motion

to Redact Trial Transcripts to served via the manner indicated on all below-listed counsel of

record.

BY ELECTRONIC MAIL
Kelly E. Farnan (#4395)
Dorronda R. Bordley (#6642)
One Rodney Square
920 N. King Street
Wilmington, DE 19801
farnan@rlf.com
bordley@rlf.com

Edgar H. Haug (pro hac vice)
Robert E. Colletti (pro hac vice)
Mark Basanta (pro hac vice)
Haug Partners LLP
745 Fifth Avenue
New York, NY 10151
ehaug@haugpartners.com
rcolletti@haugpartners.com
mbasanta@haugpartners.com
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                                         COOCH AND TAYLOR, P.A.

                                          /s/ Andrew A. Ralli
                                         Blake A. Bennett (#5133)
                                         Andrew A. Ralli (#6733)
                                         The Nemours Building
                                         1007 N. Orange Street, Suite 1120
                                         Wilmington, DE 19801
                                         Tel.: (302) 984-3800

                                         Attorney for Plaintiff

DATED: April 18, 2023
